Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 1 of 7 Page ID #:1




 1      CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
 2      Phyl Grace, Esq., SBN 171771
        Russell Handy, Esq., SBN 195058
 3      Dennis Price, Esq., SBN 279082
        Mail: 8033 Linda Vista Road, Suite 200
 4      San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
 5      phylg@potterhandy.com
 6      Attorneys for Plaintiff
 7
 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Chris Langer,                            Case No.

12                Plaintiff,
                                                 Complaint For Damages And
13        v.                                     Injunctive Relief For Violations
                                                 Of: American’s With Disabilities
14      Beverly 26 Investments, LLC, a           Act; Unruh Civil Rights Act
        California Limited Liability
15      Company;
        Beverly Discount, Inc., a
16      California Corporation; and Does 1-
        10,
17
                  Defendants.
18
19
            Plaintiff Chris Langer complains of Beverly 26 Investments, LLC, a
20
      California Limited Liability Company; Beverly Discount, Inc., a California
21
      Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
22
23
        PARTIES:
24
        1. Plaintiff is a California resident with physical disabilities. He is a
25    paraplegic who cannot walk and who uses a wheelchair for mobility. He has a
26
      specially equipped van with a ramp that deploys out of the passenger side of
27
      his van and he has a Disabled Person Parking Placard issued to him by the State
28    of California.


                                            1

      Complaint
Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 2 of 7 Page ID #:2




 1      2. Defendant Beverly 26 Investments, LLC owned the real property
 2    located at or about 4129 Beverly Blvd., Los Angeles, California, in October
 3    2019.
 4      3. Defendant Beverly 26 Investments, LLC owns the real property located
 5    at or about 4129 Beverly Blvd., Los Angeles, California, currently.
 6      4. Defendant Beverly Discount, Inc. owned Beverly Discount 99 Cent
 7    Depot located at or about 4129 Beverly Blvd., Los Angeles, California, in
 8    October 2019.
 9      5. Defendant Beverly Discount, Inc. owns Beverly Discount 99 Cent
10    Depot (“Store”) located at or about 4129 Beverly Blvd., Los Angeles,
11    California, currently.
12      6. Plaintiff does not know the true names of Defendants, their business
13    capacities, their ownership connection to the property and business, or their
14    relative responsibilities in causing the access violations herein complained of,
15    and alleges a joint venture and common enterprise by all such Defendants.
16    Plaintiff is informed and believes that each of the Defendants herein,
17    including Does 1 through 10, inclusive, is responsible in some capacity for the
18    events herein alleged, or is a necessary party for obtaining appropriate relief.
19    Plaintiff will seek leave to amend when the true names, capacities,
20    connections, and responsibilities of the Defendants and Does 1 through 10,
21    inclusive, are ascertained.
22
23      JURISDICTION & VENUE:
24      7. The Court has subject matter jurisdiction over the action pursuant to 28
25    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
27      8. Pursuant to supplemental jurisdiction, an attendant and related cause
28    of action, arising from the same nucleus of operative facts and arising out of


                                             2

      Complaint
Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 3 of 7 Page ID #:3




 1    the same transactions, is also brought under California’s Unruh Civil Rights
 2    Act, which act expressly incorporates the Americans with Disabilities Act.
 3      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 4    founded on the fact that the real property which is the subject of this action is
 5    located in this district and that Plaintiff's cause of action arose in this district.
 6
 7      FACTUAL ALLEGATIONS:
 8      10. Plaintiff went to the Store in October 2019 with the intention to avail
 9    himself of its goods and to assess the business for compliance with the
10    disability access laws.
11      11. The Store is a facility open to the public, a place of public
12    accommodation, and a business establishment.
13      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
14    to provide accessible parking in conformance with the ADA Standards as it
15    relates to wheelchair users like the plaintiff.
16      13. On information and belief the defendants currently fail to provide
17    accessible parking.
18      14. This barrier relates to and impacts the plaintiff’s disability. Plaintiff
19    personally encountered this barrier.
20      15. By failing to provide accessible facilities, the defendants denied the
21    plaintiff full and equal access.
22      16. The lack of accessible facilities created difficulty and discomfort for the
23    Plaintiff.
24      17. Even though the plaintiff did not confront the following barriers, on
25    information and belief the defendants currently fail to provide accessible paths
26    of travel leading into and through the Store.
27      18. Additionally, on information and belief the defendants currently fail to
28    provide accessible sales counters.


                                                3

      Complaint
Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 4 of 7 Page ID #:4




 1      19. Plaintiff seeks to have these barriers removed as they relate to and
 2    impact his disability.
 3      20. The defendants have failed to maintain in working and useable
 4    conditions those features required to provide ready access to persons with
 5    disabilities.
 6      21. The barriers identified above are easily removed without much
 7    difficulty or expense. They are the types of barriers identified by the
 8    Department of Justice as presumably readily achievable to remove and, in fact,
 9    these barriers are readily achievable to remove. Moreover, there are numerous
10    alternative accommodations that could be made to provide a greater level of
11    access if complete removal were not achievable.
12      22. Plaintiff will return to the Store to avail himself of its goods and to
13    determine compliance with the disability access laws once it is represented to
14    him that the Store and its facilities are accessible. Plaintiff is currently deterred
15    from doing so because of his knowledge of the existing barriers and his
16    uncertainty about the existence of yet other barriers on the site. If the barriers
17    are not removed, the plaintiff will face unlawful and discriminatory barriers
18    again.
19      23. Given the obvious and blatant nature of the barriers and violations
20    alleged herein, the plaintiff alleges, on information and belief, that there are
21    other violations and barriers on the site that relate to his disability. Plaintiff will
22    amend the complaint, to provide proper notice regarding the scope of this
23    lawsuit, once he conducts a site inspection. However, please be on notice that
24    the plaintiff seeks to have all barriers related to his disability remedied. See
25    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
26    encounters one barrier at a site, he can sue to have all barriers that relate to his
27    disability removed regardless of whether he personally encountered them).
28


                                                4

      Complaint
Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 5 of 7 Page ID #:5




 1    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 2    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 3    Defendants.) (42 U.S.C. section 12101, et seq.)
 4      24. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 5    again herein, the allegations contained in all prior paragraphs of this
 6    complaint.
 7      25. Under the ADA, it is an act of discrimination to fail to ensure that the
 8    privileges, advantages, accommodations, facilities, goods and services of any
 9    place of public accommodation is offered on a full and equal basis by anyone
10    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
11    § 12182(a). Discrimination is defined, inter alia, as follows:
12             a. A failure to make reasonable modifications in policies, practices,
13                 or procedures, when such modifications are necessary to afford
14                 goods,    services,    facilities,   privileges,    advantages,   or
15                 accommodations to individuals with disabilities, unless the
16                 accommodation would work a fundamental alteration of those
17                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
18             b. A failure to remove architectural barriers where such removal is
19                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
20                 defined by reference to the ADA Standards.
21             c. A failure to make alterations in such a manner that, to the
22                 maximum extent feasible, the altered portions of the facility are
23                 readily accessible to and usable by individuals with disabilities,
24                 including individuals who use wheelchairs or to ensure that, to the
25                 maximum extent feasible, the path of travel to the altered area and
26                 the bathrooms, telephones, and drinking fountains serving the
27                 altered area, are readily accessible to and usable by individuals
28                 with disabilities. 42 U.S.C. § 12183(a)(2).


                                              5

      Complaint
Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 6 of 7 Page ID #:6




 1      26. When a business provides parking for its customers, it must provide
 2    accessible parking.
 3      27. Here, accessible parking has not been provided.
 4      28. When a business provides paths of travel, it must provide accessible
 5    paths of travel.
 6      29. Here, accessible paths of travel have not been provided.
 7      30. When a business provides facilities such as sales or transaction counters,
 8    it must provide accessible sales or transaction counters.
 9      31. Here, accessible sales or transaction counters have not been provided.
10      32. The Safe Harbor provisions of the 2010 Standards are not applicable
11    here because the conditions challenged in this lawsuit do not comply with the
12    1991 Standards.
13      33. A public accommodation must maintain in operable working condition
14    those features of its facilities and equipment that are required to be readily
15    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
16      34. Here, the failure to ensure that the accessible facilities were available
17    and ready to be used by the plaintiff is a violation of the law.
18
19    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
20    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
21    Code § 51-53.)
22      35. Plaintiff repleads and incorporates by reference, as if fully set forth
23    again herein, the allegations contained in all prior paragraphs of this
24    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
25    that persons with disabilities are entitled to full and equal accommodations,
26    advantages, facilities, privileges, or services in all business establishment of
27    every kind whatsoever within the jurisdiction of the State of California. Cal.
28    Civ. Code §51(b).


                                               6

      Complaint
Case 2:19-cv-09966-FMO-FFM Document 1 Filed 11/21/19 Page 7 of 7 Page ID #:7




 1       36. The Unruh Act provides that a violation of the ADA is a violation of the
 2    Unruh Act. Cal. Civ. Code, § 51(f).
 3       37. Defendants’ acts and omissions, as herein alleged, have violated the
 4    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 5    rights to full and equal use of the accommodations, advantages, facilities,
 6    privileges, or services offered.
 7       38. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 8    discomfort or embarrassment for the plaintiff, the defendants are also each
 9    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
10    (c).)
11
12              PRAYER:
13              Wherefore, Plaintiff prays that this Court award damages and provide
14    relief as follows:
15            1. For injunctive relief, compelling Defendants to comply with the
16    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
17    plaintiff is not invoking section 55 of the California Civil Code and is not
18    seeking injunctive relief under the Disabled Persons Act at all.
19            2. Damages under the Unruh Civil Rights Act, which provides for actual
20    damages and a statutory minimum of $4,000 for each offense.
21            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
22    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
23
      Dated: November 18, 2019             CENTER FOR DISABILITY ACCESS
24
25
                                           By:
26
27                                         ____________________________________

28                                                Russell Handy, Esq.
                                                  Attorney for plaintiff


                                                 7

      Complaint
